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Balance Sheet
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                                    HARTMAN SPE, LLC

                                                                    29-Feb-24
ASSETS                                                              Unaudited
Real estate assets, at cost                                              379,089,109
Accumulated depreciation and amortization                               (147,489,214)
Real estate assets, net                                                  231,599,895

Cash and cash equivalents                                                 3,022,330
Restricted cash                                                          48,058,357
Accounts receivable, net                                                    985,598
Accrued rent                                                              7,144,401
Deferred leasing commission costs, net                                   11,739,607
Prepaid expenses and other assets                                         1,646,212
Total assets                                                            304,196,399

LIABILITIES AND EQUITY

Liabilities:
Postpetition Payables (excluding taxes)                                    3,915,819
Postpetition Payables past due (excluding taxes)                                 -
Postpetition taxes payable                                                 1,292,372
Postpetition taxes past due                                                      -

Prepetition secured debt - Term Debt                                    136,707,281
Prepetition secured debt - Liens                                          3,233,998
                                                                        139,941,278


Prepetition unsecured debt                                                16,832,481
Prepetition property taxes debt                                                  -
Prepetition franchise tax debt                                                   -
Prepetition unsecured debt - Security Deposits                             2,994,532
                                                                          19,827,013

Total Liabilities                                                       164,976,482


Stockholders' equity:                                                   139,219,917
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Cash Receipts
                            Case 23-11452-MFW                        Doc 814-1   Filed 05/08/24   Page 4 of 38



                               RESTRICTED CASH FLOW
                                                       Feb-24


Beg Cash Balance (Restricted)
 Excess Cash Flow Reserve                                         8,582,066
 Keybank Cash Management                                          2,329,501
 Sales Proceeds Holdback                                                -
Total                                                            10,911,567

Cash Inflow (Outflow) - Excess CF Reserve
 Transfer from Sales Proceeds Reserve                                   -
 Sales Proceeds                                                  26,202,532
 Payment of Principal                                            (4,972,678)
 Transfer to CM Acct - Debt Service                                 225,550
 Liquidation Fee
 Funding Request - Professional Fees                               (834,938)

Cash Inflow - CM Account
 Tenant Receipts (Restricted)                                     4,941,850
 Transfer from Excess CF Reserve

Cash Inflow - Sales Proceeds
 Transfer to Excess CF Reserve                                          -

Cash Outflow - CM Account
 Debt Service (Interest Only, Default Rate)                      (1,513,466)
 Budgeted Operating Expenses                                     (2,220,476)
 Special Servicing Fee                                              (30,498)
 Property Tax Reserve                                              (858,059)
 Replacement Reserve                                               (126,020)
 Excess Cash Reserve Sweep                                         (225,550)
                                                                 (4,974,068)


Ending Cash Balance (Restricted)                                31,499,815




                             UNRESTRICTED CASH FLOW
                                                       Feb-24

                                                       Actual

Beg Cash Balance (Unrestricted)                                    675,521

Cash Inflow
 Cash Management Disbursement (Unrestricted)                      3,055,414
 Property Tax Refund - Protests
 Buyer Settlements - Sold Properties

Property Operating Expenses
  Utility Deposit
  Utilities (Pre-petition services)
  Utilities (Post-petition services)                               (804,479)
  Janitorial                                                       (260,787)
  Security                                                         (102,564)
  Fire / elevator / life safety                                    (189,571)
  Heating, ventilation, and air conditioning                       (204,810)
  Landscaping                                                       (34,795)
  Other Opex                                                       (212,674)
  Insurance Loss Disbursement (400 N Belt - Reserve)                (11,636)
  Tenanat Deposit (incorrect account)                                26,466
  Tenanat Receipts - Sold Property                                  (67,768)
  Total Property Operating Expenses                              (1,862,619)


Property Manager Fees & Reimbursements                             (594,755)
  Total Property Management Fees & Reimbursement                   (594,755)

 Total Property Operating Expenses                               (2,457,374)

Other Expenses
 Texas franchise taxes                                              (38,885)

 Bankruptcy and professional fees
   Katten                                                          (218,742)
   Chipman Brown                                                    (49,652)
   Hirsch
   Epiq
   Committee Prof.                                                  (88,024)
   US Trustee                                                      (153,212)
   Lender's Counsel
   Lender Appraisals
   Lender Inspection Costs
   Lender Special Servicing Fees
   Liquidation Fee (TBD)

 Total Other Expenses                                              (548,514)


Change in Net Operating Cash Flow (Unrestricted                     49,526

Ending Cash Balance (Unrestricted)                                725,047




Other Cash Reserves (Beg)
 Loan Reserve Accounts (2)                                       16,912,023

Change in Other Cash Reserves
 Loan Reserve Accounts                                             984,079
 Property Tax Payments                                                 -
 Utility Deposit
Ending Other Cash Reserves                                      17,896,102

Cumulative Cash Liquidity                                       50,120,964
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Income Statement
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                                  HARTMAN SPE, LLC


                                                                      Feb-24
Revenues
Rental revenues                                              $                 4,878,884
Total revenues                                                                 4,878,884

Expenses (income)
Property operating expenses                                                    2,240,822
Insurance                                                                        315,036
Real estate property taxes                                                       530,262
Texas franchise taxes                                                                197
Depreciation and amortization                                                  1,156,292
General and administrative                                                       156,705
Interest expense                                                               1,379,409
Total expenses, net                                                            5,778,723

Reorganization Items
Gain on disposed property                                                      8,515,314
Professional Fees                                                               (513,043)

Profit (loss) income                                                           7,102,432
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         Part 7a
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Payee / Counterparty        Amount                                  Description

                                               Debtor made a Principal Payment on senior secured
                                               mortgage using sales proceeds of real estate assets
     KeyBank                         4,972,678
                                               sold to date during the bankruptcy period. Payment
                                               approved by the court.
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Bank Statements
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                KeyBank                                                Corporate Banking Statement
                P.O. Box 93885
                Cleveland, OH 44101-5885
                                                                                  February 29, 2024
                                                                                        page 1 of 3


                                                                                                   6586



                          T   968 00000 R EM T1
       HARTMAN SPE, LLC DEBTOR IN POSSESSION                                                     Questions or comments?
       CMA FBO US BANK, NA AS TRUSTEE OF HOLDER                                                      Call 1-800-821-2829
       GS MORTGAGE SECURITIES TRUST 2018-HART
       AND THE RR INTEREST OWNER; CASE 23-11452
       11501 OUTLOOK STREET STE 300
       OVERLAND PARK KS 66211-1807




 Commercial Control Transaction              6586
 HARTMAN SPE, LLC DEBTOR IN POSSESSION
                                                           Beginning balance 1-31-24                      $2,329,051.22
 CMA FBO US BANK, NA AS TRUSTEE OF HOLDER
 GS MORTGAGE SECURITIES TRUST 2018-HART
                                                           20 Additions                                   +4,941,849.83
                                                           15 Subtractions                                -4,974,068.20
                                                           Net fees and charges                                 -450.00
                                                           Ending balance 2-29-24                         $2,296,382.85




Additions
             Deposits Date        Serial #        Source
                      2-1         189452          Wire Deposit Hartman Spe, Llc 1548                         $328,246.24
                      2-2         210492          Wire Deposit Hartman Spe, Llc 1548                          706,017.12
                      2-5         233501          Wire Deposit Hartman Spe, Llc 1548                          442,050.27
                      2-6         248701          Wire Deposit Hartman Spe, Llc 1548                          778,775.22
                      2-7         263389          Wire Deposit Hartman Spe, Llc 1548                          277,652.63
                      2-8         279725          Wire Deposit Hartman Spe, Llc 1548                          117,725.49
                      2-9         294880          Wire Deposit Hartman Spe, Llc 1548                          157,403.24
                      2-12        315493          Wire Deposit Hartman Spe, Llc 1548                          114,420.02
                      2-13        329850          Wire Deposit Hartman Spe, Llc 1548                          337,292.94
                      2-14        349421          Wire Deposit Hartman Spe, Llc 1548                          106,678.81
                      2-15        366088          Wire Deposit Hartman Spe, Llc 1548                           75,468.63
                      2-16        382097          Wire Deposit Hartman Spe, Llc 1548                           75,383.02
                      2-20        406739          Wire Deposit Hartman Spe, Llc 1548                           24,149.77
                      2-21        424199          Wire Deposit Hartman Spe, Llc 1548                          204,953.46
                      2-22        439523          Wire Deposit Hartman Spe, Llc 1548                          192,689.81
                      2-23        455240          Wire Deposit Hartman Spe, Llc 1548                           64,810.97
                      2-26        475965          Wire Deposit Hartman Spe, Llc 1548                           90,855.14
                      2-27        490801          Wire Deposit Hartman Spe, Llc 1548                          370,750.27
                      2-28        509617          Wire Deposit Hartman Spe, Llc 1548                          114,211.86
                      2-29        529650          Wire Deposit Hartman Spe, Llc 1548                          362,314.92
                                                  Total additions                                          $4,941,849.83




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                                                                         Corporate Banking Statement
                                                                                    February 29, 2024
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Subtractions

         Withdrawals Date        Serial #        Location
                     2-12        82072942        Ji 10195932 Default Int Bd Feb 9 Per Ss                        $94,271.93
                     2-12        82072941        Ji 10195052 Default Int Bd Feb 9 Per Ss                         76,756.10
                     2-12        82072940        Ji 10195935 Feb Pmt Bd Feb 9 Per Ss                             39,991.62
                     2-12        82072939        Ji 10195052 Misc Adv 828 Seq 009 Bd Feb                         30,498.15
                     2-12        82072938        Ji 10195934 Feb Pmt Bd Feb 9 Per Ss                            264,842.34
                     2-12        82072937        Ji 10195052 Res 001 Per Ss                                     225,549.84
                     2-12        82072936        Operating To Brwr Per Ss                                     2,220,476.00
                     2-12        82072935        Ji 10195935 Default Int Bd Feb 9 Per Ss                         20,793.86
                     2-12        82072934        Ji 10195933 Feb Pmt Bd Feb 9 Per Ss                            187,634.48
                     2-12        82072933        Ji 10195931 Feb Pmt Bd Feb 9 Per Ss                            180,565.24
                     2-12        82072932        Ji 10195934 Default Int Bd Feb 9 Per Ss                        157,122.81
                     2-12        82072931        Ji 10195932 Feb Pmt Bd Feb 9 Per Ss                            143,215.50
                     2-12        82072930        Ji 10195931 Default Int Bd Feb 9 Per Ss                        125,697.37
                     2-12        82072929        Ji 10195933 Default Int Bd Feb 9 Per Ss                        115,644.74
                     2-12        82072928        Ji 10195052 Feb Pmt Bd 2/9 Per Ss                            1,091,008.22
                                                 Total subtractions                                          $4,974,068.20



Fees and
charges        Date                                                                Quantity    Unit Charge
               2-8-24        Jan Analysis Service Chg                               1              450.00        -$450.00
                                                Fees and charges assessed this period                            -$450.00

                      See your Account Analysis statement for details.




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  135 N. Los Robles Ave., 6TH FL.
                                                                     ENDING DATE: February 29, 2024
  Pasadena, CA 91101
                                                                                              5344
         HARTMAN SPE, LLC




Number         Date            Amount                Number          Date            Amount
46411 *        02-05          7,652.61               46488           02-12        20,572.15
46413 *        02-01            479.00               46489           02-12         4,666.58
46414          02-05          3,079.13               46490           02-12        26,015.51
46415          02-14         31,068.78               46491           02-05           880.51
46416          02-05            839.52               46492           02-14         2,998.48
46417          02-05          1,147.04               46493           02-05        20,352.59
46418          02-05          1,845.39               46494           02-06        22,819.70
46419          02-05          2,051.07               46496 *         02-06        14,339.34
46420          02-05                84.00            46498 *         02-05         1,769.89
46422 *        02-01          3,576.00               46499           02-05         6,359.91
46423          02-15            100.27               46500           02-05        11,540.38
46424          02-01            917.96               46501           02-05         3,242.69
46426 *        02-27         16,817.19               46502           02-05         9,594.34
46428 *        02-09            235.70               46503           02-05        10,262.55
46429          02-09            235.70               46504           02-07           390.21
46430          02-09            235.70               46506 *         02-13         1,825.48
46431          02-09            235.70               46507           02-16           770.49
46432          02-09            235.70               46508           02-13           460.96
46434 *        02-05            828.53               46509           02-14         3,453.18
46435          02-14                49.60            46510           02-14        11,418.90
46436          02-14          4,551.36               46511           02-16        22,785.37
46447 *        02-01          2,070.30               46512           02-14           156.96
46448          02-02          6,529.90               46513           02-15           848.72
46449          02-01            111.50               46514           02-27         4,951.37
46450          02-01                63.87            46516 *         02-13       120,789.65
46451          02-01            124.49               46519 *         02-22        15,785.77
46452          02-09            763.70               46520           02-22        22,883.79
46455 *        02-13          4,670.80               46521           02-20           455.94
46461 *        02-05          2,206.61               46522           02-15           868.87
46465 *        02-15         34,936.08               46523           02-13           395.91
46466          02-15         16,230.53               46524           02-13         1,945.66
46467          02-15         17,254.06               46525           02-13           249.99
46469 *        02-05            692.34               46526           02-15            30.53
46472 *        02-01          6,860.63               46527           02-14           424.77
46473          02-02         34,936.08               46528           02-13           581.85
46474          02-02         16,230.53               46530 *         02-13           982.88
46475          02-02         17,254.06               46531           02-14         2,085.00
46476          02-09         34,041.81               46532           02-21           590.00
46477          02-05          5,856.16               46533           02-28         2,251.60
46478          02-12         21,725.28               46534           02-15           448.83
46479          02-12         25,848.16               46535           02-15           418.67
46480          02-12         32,515.64               46536           02-15           149.52
46481          02-12         29,596.63               46537           02-15           137.46
46482          02-12         39,918.03               46538           02-15           284.57
46483          02-20                37.60            46539           02-16           806.47
46484          02-20            170.33               46540           02-20           153.61
46485          02-20            262.05               46541           02-21           206.89
46486          02-07            899.40               46542           02-15         2,899.41
46487          02-07          4,307.95               46544 *         02-16         3,225.85
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                                                                                               5344
         HARTMAN SPE, LLC




Number         Date            Amount                Number           Date            Amount
46545          02-14          2,143.35               46616 *          02-21           416.76
46546          02-14          7,361.00               46617            02-23           192.99
46547          02-16          1,983.79               46618            02-21         8,109.82
46548          02-15         14,631.28               46620 *          02-26         2,647.99
46549          02-15          1,359.91               46621            02-21         1,135.68
46550          02-15         11,923.21               46622            02-20        18,402.50
46551          02-15          8,426.78               46623            02-26           236.92
46552          02-15          8,856.47               46624            02-26           132.43
46555 *        02-13            253.27               46625            02-26           137.46
46556          02-14          7,975.34               46626            02-26           240.16
46557          02-14            669.50               46627            02-20         4,232.19
46558          02-13          1,339.00               46628            02-22        15,445.10
46559          02-21          4,095.16               46629            02-21        18,811.49
46560          02-23         19,425.70               46630            02-21        20,669.30
46561          02-14          1,188.52               46631            02-21        19,453.23
46562          02-13         14,188.87               46632            02-21         6,576.07
46563          02-13          3,561.43               46633            02-21         6,169.07
46564          02-14          1,334.34               46634            02-21         3,851.55
46566 *        02-14          3,270.25               46637 *          02-27         1,766.83
46567          02-14            844.68               46640 *          02-21         6,474.29
46569 *        02-16         45,616.56               46641            02-26        53,303.81
46570          02-16         28,820.48               46642            02-22         1,200.00
46571          02-13         20,066.00               46644 *          02-27           685.14
46572          02-14          3,415.00               46645            02-29           160.82
46573          02-27         12,714.77               46646            02-28        23,343.88
46574          02-15            711.55               46647            02-28        56,192.61
46575          02-22            130.14               46648            02-28        33,349.54
46576          02-27         14,928.25               46649            02-29           876.00
46577          02-27         20,395.93               46653 *          02-28        12,700.01
46578          02-27         23,305.30               46654            02-29         2,737.64
46580 *        02-26          2,222.47               46655            02-29         3,712.97
46581          02-27          3,026.19               46657 *          02-28         1,900.00
46585 *        02-22            172.30               46663 *          02-28         6,776.53
46594 *        02-23        146,272.30               46668 *          02-28         1,082.50
46595          02-23          2,754.31               46669            02-28           982.88
46596          02-23          1,615.20               46673 *          02-27         1,277.36
46597          02-23                34.50            46676 *          02-29           254.39
46599 *        02-21          5,596.27               46677            02-29         2,814.50
46600          02-26          1,447.69               46679 *          02-28        17,437.95
46601          02-27          1,420.45               46681 *          02-27        18,687.79
46602          02-22            990.51               46682            02-29        20,035.07
46603          02-29          1,170.00               46683            02-29        16,918.49
46604          02-23          2,911.90               46684            02-27           270.63
46605          02-22                97.00            46686 *          02-27        15,445.10
46606          02-21            398.14               46687            02-29         2,922.75
46607          02-26          1,447.69               46690 *          02-28         4,349.74
46608          02-21          1,360.54               46691            02-27         6,711.50
46609          02-29            119.40               49334 *          02-01         1,540.00
46614 *        02-27            317.44               * Skip in check sequence
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                                                                                      ENDING DATE: February 29, 2024
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                                                                                                                  5344
        HARTMAN SPE, LLC




Date     Transaction Description                                                                   Subtractions
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                   967.82
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                   986.50
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                1,008.72
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                1,138.84
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                1,165.61
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                1,176.75
02-14   Preauth Debit       WASTE MANAGEMENT INTERNET 240214                                        1,411.00
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                1,445.31
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                                2,286.81
02-14   Preauth Debit       GFL ENV. FIRSTECH 240214                                               13,444.11
02-15   Preauth Debit       WEBFILE TAX PYMT DD 240215 902/74839412                                     87.91
02-15   Preauth Debit       WEBFILE TAX PYMT DD 240215 902/74838189                                    298.05
02-15   Preauth Debit       COMCAST 8777702 111389503 240215                                           416.92
02-16   Preauth Debit       REPUBLICSERVICES RSIBILLPAY 240216                                          86.47
02-16   Preauth Debit       REPUBLICSERVICES RSIBILLPAY 240216                                         182.21
02-16   Preauth Debit       FRONTIER COMMUNI BILL PAY 240216 19479864841                               523.48
02-16   Preauth Debit       REPUBLICSERVICES RSIBILLPAY 240216                                      1,227.68
02-16   Preauth Debit       REPUBLICSERVICES RSIBILLPAY 240216                                      1,243.19
02-20   Preauth Debit       NWHarris MUD21 P ECHK012603 240220                                         427.20
02-21   Analysis Servic     ANALYSIS ACTIVITY FOR 01/24                                             1,785.62
02-21   Preauth Debit       QUARTERLY FEE PAYMENT 240221 0000                                     153,212.00
02-22   Preauth Debit       COMCAST CABLE 240222                                                       236.92
02-22   Preauth Debit       COMCAST CABLE 240222                                                       240.16
02-22   Preauth Debit       CPENERGY ENTEX ENT ACH DR 240222                                           507.80
02-22   Preauth Debit       CPENERGY ENTEX ENT ACH DR 240222                                           799.61
02-22   Preauth Debit       CPENERGY ENTEX ENT ACH DR 240222                                           982.20
02-22   Preauth Debit       CPENERGY ENTEX ENT ACH DR 240222                                        1,065.19
02-22   Preauth Debit       CPENERGY ENTEX ENT ACH DR 240222                                        2,457.87
02-23   Outgoing Wire       HARTMAN INCOME REI T MANAGEMENT INC                                   321,055.87
02-23   Preauth Debit       CITY OF HOUSTON WATER BILL 240223                                          277.53
02-23   Preauth Debit       CITY OF HOUSTON WATER BILL 240223                                          923.67
02-23   Preauth Debit       CITY PUBLIC SRV CPS BILL 240223 003005492662                           10,661.03
02-26   Preauth Debit       CITY OF HOUSTON WATER BILL 240226                                           15.48
02-26   Preauth Debit       CITY OF RICHARDS UT BILL 240226 000855980064601                             16.00
02-27   Preauth Debit       WELLS FARGO BANK LOAN LEASE 240227 000000015081405                         215.97
02-28   Preauth Debit       COMCAST CABLE 240228                                                       134.19
02-28   Preauth Debit       COMCAST CABLE 240228                                                       137.46
02-28   Preauth Debit       SPECTRUM SPECTRUM 240228                                                   180.14
02-29   Outgoing Wire       Phoenix Management Services, LLC                                       11,522.00
02-29   Outgoing Wire       Chipman Brown Cice ro & Cole, LLP Ru                                   49,651.76
02-29   Outgoing Wire       KATTEN MUCHIN ROSE NMAN LLP                                           218,741.50
02-29   Preauth Debit       Hartman Spe, LLC Legal Fees 240229                                     76,502.41




DAILY BALANCES
Date           Amount                        Date                  Amount                Date        Amount
01-31           718,710.39                   02-05                  522,817.39           02-08         263,631.27
02-01           695,625.92                   02-06                  342,596.87           02-09         227,647.26
02-02           616,161.25                   02-07                  295,957.83           02-12       2,246,241.09
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                                                                                     ACCOUNT STATEMENT
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  135 N. Los Robles Ave., 6TH FL.
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                                                                                                         5344
         HARTMAN SPE, LLC




Date          Amount                   Date          Amount                    Date           Amount
02-13         1,794,861.49             02-20     2,323,767.04                  02-26          1,441,802.15
02-14         1,681,574.12             02-21     2,071,329.45                  02-27          1,287,229.29
02-15         2,455,142.90             02-22     2,009,535.09                  02-28          1,133,186.79
02-16         2,347,870.86             02-23     1,503,410.09                  02-29              725,047.09




        OVERDRAFT/RETURN ITEM FEES


                                                              Total for                   Total
                                                              this period              year-to-date


                Total Overdraft Fees                              $0.00                      $0.00


                Total Returned Item Fees                          $0.00                      $0.00
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